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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

BILLY RAY WILLIS                                                                     PLAINTIFF

v.                                 Case No. 4:22-cv-00532-KGB

DAMMON JOE MCGILTON, Chief Deputy,
Stone County Sheriff’s Office, et al.                                           DEFENDANTS

                                            ORDER

       Plaintiff Billy Ray Willis filed a motion to proceed in forma pauperis and a complaint

which must be screened under 28 U.S.C. § 1915A(a) (Dkt. No. 1; 2). When Mr. Willis filed this

lawsuit, he was in custody at the Stone County Detention Center (Dkt. No. 1, at 1). On June 28,

2022, Mr. Willis filed a notice of change of address indicating that was released from custody of

the Stone County Detention Center. On July 5, 2022, mail was returned undeliverable to the

address Mr. Willis provided the Court in his notice of change of address (Dkt. No. 5).

Accordingly, Mr. Willis has not provided the Court with a valid mailing address as required by

the Local Rule 5.5(c) of the United States District Court for the Eastern and Western Districts of

Arkansas.

       Before Court performs the requisite screening under 28 U.S.C. § 1915A(a), Mr. Willis

must pay the filing fee or file a new application to proceed in forma pauperis providing updated

information to the Court. Additionally, before the Court performs the requisite screening under

28 U.S.C. § 1915A(a), Mr. Willis must provide the Court his updated mailing address.

       It is therefore ordered that:

       1.      The Court denies without prejudice to refiling Mr. Willis’s application to proceed

in forma pauperis (Dkt. No. 1).

       2.      Within 30 days of the entry of this Order, Mr. Willis must either pay the $402.00

filing fee in full or file a properly completed application to proceed in forma pauperis for the
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Court’s review and consideration. If Mr. Willis does not pay the filing fee or submit a properly

completed in forma pauperis application within 30 days, this action will be dismissed without

prejudice.

       3.       The Court directs the Clerk of Court to send Mr. Willis a new in forma pauperis

application.

       4.       Mr. Willis must also provide the Court with a valid mailing address within 30 days

from the date of this Order. See Local Rule 5.5 of the United States District Court for the Eastern

and Western Districts of Arkansas.

       So ordered this 8th day of July, 2022.


                                                           ___________________________
                                                           Kristine G. Baker
                                                           United States District Judge




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